                Case 21-95, Document 92, 07/18/2023, 3542942, Page1 of 9




                21-0095                IN THE
                    United States Court of Appeals
                             FOR THE SECOND CIRCUIT


                                  SAIFULLAH KHAN,
                                          Plaintiff-Appellant,

                                           v.

  YALE UNIVERSITY, PETER SALOVEY, JONATHON HALLOWAY, MARVIN
CHUN, JOE GORDON, DAVID POST, MARK SOLOMON, ANN KUHLMAN, LYNN
COOLEY, PAUL GENECIN, STEPHANIE SPANGLER, SARAH DEMERS, CAROLE
                 GOLDBERG, UNKNOWN PERSONS,
                                 Defendants-Appellees,

                                      JANE DOE,
                                           Defendant-Appellee.


            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF CONNECTICUT, NO. 3:19-cv-01966-KAD


 SUPPLEMENTAL LETTER BRIEF OF THE DEFENDANT-APPELLEE JANE DOE



                                            James M. Sconzo, Esq.
                                            Brendan N. Gooley, Esq.
                                            Carlton Fields
                                            One State Street
                                            Suite 1800
                                            Hartford, CT 06103
                                            Tel. (860) 392-5000
                                            Fax (860) 392-5058
July 18, 2023
            Case 21-95, Document 92, 07/18/2023, 3542942, Page2 of 9
                                                                                                             ATTORNEYS AT LAW
                                                                                                         One State Street | Suite 1800
                                                                                                    Hartford, Connecticut 06103-3102
                                                                                                     860.392.5000 | fax 860.392.5058
                                                                                                               www.carltonfields.com

                                                                                                                             Atlanta
                                                                                                                       Florham Park
James M. Sconzo                                                                                                            Hartford
                                                                                                                        Los Angeles
Shareholder                                                                                                                   Miami
                                                                                                                          New York
(860) 392 – 5022                                                                                                            Orlando
JSconzo@carltonfields.com                                                                                                Tallahassee
                                                                                                                              Tampa
                                                                                                                    Washington, DC
                                                                                                                    West Palm Beach


The Honorable Debra Ann Livingston
The Honorable Amalya L. Kearse
The Honorable Reena Raggi
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007


Dear Chief Judge Livingston and Judges Kearse and Raggi:

      Pursuant to this Court’s June 27, 2023 Order (ECF 89), Defendant-Appellee

Jane Doe respectfully submits this letter brief on how this appeal should be decided.

                                        INTRODUCTION

      This Court should vacate the District Court’s judgment and remand this case

for further proceedings consistent with the Connecticut Supreme Court’s opinion

reframing and then responding to several questions certified by this Court. Since

this case will be remanded, this Court need not decide the alternate ground for

affirmance raised by Jane Doe in this appeal but should instead instruct the District

Court to decide that issue on remand.




                                        Carlton Fields, P.A.P.C.
                    Carlton Fields, P.A. practices law in California through Carlton Fields, LLP.
             Case 21-95, Document 92, 07/18/2023, 3542942, Page3 of 9




           STATEMENT OF FACTS AND PROCEDURAL HISTORY

      A.     Pre-Certification Proceedings

      Plaintiff sued Jane for defamation and tortious interference with business

relationships based on Jane reporting to Yale University in 2015 that Plaintiff

sexually assaulted her and then allegedly making defamatory statements about

Plaintiff during a 2018 hearing before Yale University’s University-Wide

Committee on Sexual Misconduct (“the UWC”). (App. 32–34.) (Jane’s 2015 report

was not part of Plaintiff’s defamation claim. (E.g., App. 143.))

      Jane moved to dismiss Plaintiff’s claims in their entirety. (App. 37.) She

primarily argued that she was protected by absolute quasi-judicial immunity. (App.

54–61.) In the alternative, Jane argued that Plaintiff’s tortious interference claim

failed, in part, because statements purportedly made in 2015 were barred by the

statute of limitations. (App. 53–54.) Plaintiff responded to that argument by

invoking the continuing course of conduct doctrine; Jane responded that the

continuing course of conduct doctrine does not apply to discrete events separated by

approximately three years. (App. 143; App. 158–61.)

      The District Court concluded that Jane was entitled to absolute quasi-judicial

immunity and therefore did not reach Jane’s alternate argument that the statute of

limitations barred Plaintiff from asserting claims based on purported events in 2015.



                                         2
             Case 21-95, Document 92, 07/18/2023, 3542942, Page4 of 9




(App. 164–83.) Plaintiff then appealed to this Court. (App. 185.) In her brief to

this Court, Jane raised her statute of limitations argument as an alternate ground for

affirmance. (Jane’s Brief at 35–41.) This Court then certified various questions

about absolute quasi-judicial immunity to the Connecticut Supreme Court. (Doc.)

      B.     Post-Certification Proceedings

      The Connecticut Supreme Court held that, at least “in light of the procedural

posture in which this case reache[d] [it]” (i.e., on appeal from a motion to dismiss

where the Court was “obliged to accept the factual allegations as true and to draw

all inferences in [Plaintiff’s] favor,” (Connecticut Supreme Court’s Opinion (ECF

87) (“Opinion”) at 24)), Jane was not entitled to absolute quasi-judicial immunity,

is entitled to qualified immunity, but that Plaintiff’s allegations overcome qualified

immunity until “a later stage of the proceedings, [when] with a more complete

factual record,” the District Court can revisit Jane’s entitlement to qualified

immunity. (Opinion at 30.) The Connecticut Supreme Court did not address Jane’s

statute of limitations argument, an issue this Court did not certify. (Opinion.)

                                   ARGUMENT

      A.     This Court Should Remand This Case

      This Court should vacate the District Court’s holding that Jane was entitled to

absolute quasi-judicial immunity and remand this case for further proceedings

consistent with the Connecticut Supreme Court’s decision. This Court’s Order



                                          3
            Case 21-95, Document 92, 07/18/2023, 3542942, Page5 of 9




should not prohibit the District Court from revisiting, on a fully developed record,

absolute immunity and assessing, for the first time, qualified privilege. When the

Connecticut Supreme Court analyzed the question of “whether . . . the 2018 Yale

UWC proceeding at issue was properly recognized as quasi-judicial,” it “reiterate[d]

that, in light of the procedural posture in which this case reache[d] it, [the Court]

was obliged to accept the factual allegations as true and to draw all inferences in

[Plaintiff’s] favor.” (Opinion at 23–24.) “After reviewing the record before” it

under that standard, the Court concluded “that the UWC proceeding did not

incorporate sufficient procedural safeguards to be considered quasi-judicial.”

(Opinion at 24.) More specifically, the Court found five procedural safeguards

lacking on the record before it, but noted that not “all of th[o]se procedural

[protections] are required for [a proceeding to be] quasi-judicial.” (Opinion at 24–

25.) Discovery may establish sufficient “procedural safeguards to be considered

quasi-judicial.” (Opinion at 24.) Discovery will present a very different picture of

the UWC proceeding between the parties than Plaintiff’s unchallenged allegations.

Moreover, the District Court never addressed qualified privilege. The Connecticut

Supreme Court left open the critical question of qualified privilege, and explicitly

held that the District Court “may reconsider [qualified] privilege [once] the factual

record is developed.” (Opinion at 30.)




                                         4
             Case 21-95, Document 92, 07/18/2023, 3542942, Page6 of 9




      B.     This Court Should Let The District Court Decide Jane’s Alternate
             Ground For Affirmance In The First Instance

      “[W]hile it is well settled that [this Court] may affirm a district court’s

decision on any grounds for which there is a record sufficient to permit conclusions

of law, including grounds not relied upon by the district court, [this Court has]

discretion to choose not to do so based on prudential factors and concerns.” Saeli v.

Chautauqua Cnty., NY, 36 F.4th 445, 461 (2d Cir. 2022) (alterations and internal

quotation marks omitted). Thus, in Saeli, this Court elected to let a district court

decide an issue in the first instance on remand. Id.; see also, e.g., id.

      This Court should exercise its discretion to allow the District Court to decide

Jane’s alternate ground for affirmance in the first instance. This case already needs

to be remanded to the District Court for further proceedings. There is therefore no

need for this Court to weigh in on an issue the District Court is capable of deciding.

                                   CONCLUSION

      This Court should vacate the District Court’s partial final judgment in favor

of Jane Doe and remand for further proceedings consistent with the Connecticut

Supreme Court’s opinion, including (1) a decision on Jane’s alternate argument and

(2) consideration of absolute and/or qualified immunity on a fully developed record.




                                           5
           Case 21-95, Document 92, 07/18/2023, 3542942, Page7 of 9




Dated: July 18, 2023

                                   Respectfully submitted,

                                By: /s/ James M. Sconzo
                                   James M. Sconzo, Esq.
                                   Brendan N. Gooley, Esq.
                                   CARLTON FIELDS P.A.P.C.
                                   One State Street
                                   Suite 1800
                                   Hartford, CT 06103
                                   Tel:(860) 392-5000
                                   Fax:(860) 392-5058
                                   E-mail: jsconzo@carltonfields.com
                                           bgooley@carltonfields.com

                                   Attorneys for Defendant-Appellee Jane Doe




                                      6
             Case 21-95, Document 92, 07/18/2023, 3542942, Page8 of 9




                     CERTIFICATION OF COMPLIANCE

      I hereby certify pursuant to Fed. R. App. P. 32(a) that the attached

Supplemental Letter Brief is proportionally spaced, has a typeface (Times New

Roman) of 14 points (excluding my firm’s letterhead), and contains 965 words

(excluding the sections of the Letter Brief permitted by Fed. R. App. P. 32(f)), as

counted by the Microsoft Word processing system used to produce this Letter Brief.

I further certify that the attached Supplemental Letter Brief is less than ten pages.

Dated: July 18, 2023



                                        /s/ James M. Sconzo
                                        James M. Sconzo




                                          7
            Case 21-95, Document 92, 07/18/2023, 3542942, Page9 of 9




                       CERTIFICATION OF SERVICE

      This is to certify that on this 18th day of July, 2023, a true and correct copy

of the foregoing Supplemental Letter Brief was electronically served through the

Court’s CM/ECF system upon the following party:

Norman A. Pattis, Esq.
The Pattis & Smith Law Firm
383 Orange Street, 1st Floor
New Haven, Connecticut 06511
Counsel for Plaintiff-Appellant

                                      /s/ James M. Sconzo
                                      James M. Sconzo




                                         8
